
477 So.2d 1128 (1985)
CALIFORNIA UNION INSURANCE COMPANY, Allianz Underwriters, Inc., Columbia Casualty Insurance Company, Federal Insurance Company, First State Insurance Company, Harbor Insurance Company, Home Insurance Company, Integrity Insurance Company, Mutual Fire Marine &amp; Inland Insurance Company, Northbrook Insurance Company and Gulf States Utilities Company
v.
BECHTEL CORPORATION and Westinghouse Electric Corporation.
No. 85-C-1860.
Supreme Court of Louisiana.
November 8, 1985.
Denied.
DIXON, C.J., would grant the writ.
